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EXHIBIT O

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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

In Re: PHARMACEUTICAL INDUSTRY AVERAGE WHOLESALE

PRICE LITIGATION

IN THE DISTRICT COURT OF

TRAVIS COUNTY, TEXAS Case No.
Cause No. GV401286 MDL No. 1456
THE STATE OF TEXAS Ex rel. Civil Action No.

VEN-A-CARE OF THE FLORIDA KEYS, INC., 01-12257-PBS

Plaintiffs

ABBOTT LABORATORIES, INC., et al.,
Defendants. Volume It
CONTINUED VIDEOTAPE DEPOSITION: OF ZACHARY TAYLOR
BENTLEY II, Thursday, March 6, 2008
9:05 a.m. - 12:25 p.m. 1:20 p.m. - to 5:25 p.m.
21st Floor 2 South Biscayne Boulevard Miami, Florida 33131
by: Sherilynn McKay, RMR, CRR Notary Public,

State of Florida

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1 UNITED STATES DISTRICT COURT

2 FOR THE DISTRICT OF MASSACHUSETTS

3 Civil Action No. 03-cv-11865-PBS

4

5 THE COMMONWEALTH OF MASSACHUSETTS,

6 Plaintiff,

7 - against -

8 MYLAN LABORATORES, INC., et al.

9 Defendants.

10 | --------------------------------------------------
11 IN THE DISTRICT COURT OF THE FOURTH

12 JUDICIAL DISTRICT OF THE STATE OF IDAHO IN
13 AND FOR THE COUNTY OF ADA
14

15 Case No. CV OC 0701847

16 STATE OF IDAHO,

17 Plaintiff

18 vs.

19 ALPHARMA USPD INC., et al.,
20 Defendants.
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COMMONWEALTH OF KENTUCKY FRANKLIN CIRCUIT COURT
DIV 1 CIVIL ACTION NO. 04-CI-1487

COMMONWEALTH OF KENTUCKY Ex rel,

JACK CONWAY ATTORNEY GENERAL

Plaintiff,

v.

ALPHARMA USPD, INC., et al.

Defendants.

COMMONWEALTH OF KENTUCKY FRANKLIN CIRCUIT COURT

FRANKLIN CIRCUIT COURT - DIV III

CIVIL ACTION NO.
COMMONWEALTH OF KENTUCKY, 03-CI-1134
Plaintiff
vs.
ABBOTT LABORATORIES, INC.,
Defendant.
IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY, DOCKET NO.
ALABAMA MASTER CV-2005-219
In the Matter of ALABAMA MEDICAID PHARMACEUTICAL

AVERAGE WHOLESALE PRICE LITIGATION

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A Yes.

Q And that encloses a number of letters from
you to the heads of the Medicaid programs of the
various states. Correct?

A Yes, sir.

Q And those letters are dated October 24,
1994?

A Correct.

Q Am I correct in assuming that it's these
October 24, 1994 letters to the directors of
Medicaid that you're referring to in your letter to
Mr. Wells on October 31, 1994, one week later?

A Oh. Yes.

Q And, in fact, you carbon copy Mr. Wells on
the bottom of each of the letters to the various
state Medicaid agencies. Correct?

A Correct.

Q In this letter, you indicate to each of the
Medicaid program heads that you are working on a
continuing educational project concerning our
nation's Medicaid reimbursement of the above-

referenced drugs.

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Did I read that correctly?

Q Were you working on a continuing
educational project?

A It was to me.

Q Were you in school?

A I don't think you have to be in school to
have -- to do continuing education.

Q In fact, your continuing education project
was Ven-A-Care's investigation. Correct?

A Well, it was also educating of me. I
certainly considered it to be educational. I knew
nothing about the pharmaceutical business and it was
all a learning experience.

Q Is it your testimony that this letter
fairly and honestly conveys to the head of the
Medicaid programs the reason that you're asking the
questions that you do?

A It certainly reflects one of the reasons.
I didn't put all of the reasons down. That was my
main reason right there.

Q You didn't advise these Medicaid programs

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